Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 1 of 13 PagelD: 84

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

LESTER DAVIS,

Plaintiff,
CIVIL ACTION
v.

SIX FLAGS GREAT NO. 321-cv-14650
ADVENTURE, LLC, et. al.

Defendant.

 

 

 

BRIEF IN SUPPORT OF DEFENDANT, SIX FLAGS GREAT ADVENTURE,
LLC’S, MOTION TO DISMISS THE PLAINTIFF’S AMENDED COMPLAINT,
IN PART, FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN

BE GRANTED

 

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Dated: September 17, 2021
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 2 of 13 PagelD: 85

Il.

IL.

IV.

 

TABLE OF CONTENTS
STATEMENT OF PERTINENT FACTS ..........0.0 00.00 cece eeceeueeeens 1
QUESTION PRESENTED. ... 0.00.00 cece ccc cece cece cctv ne eeneveeues 2
LEGAL STANDARD AND STANDARD OF REVIEW........0.000 ccc ee ceeee 3
LEGAL ANALYSIS. 20.0. c eee een n eee neee tease 4

A. Motion To Dismiss Plaintiffs Count VII For Failure
To State A Claim Upon Which Relief May Be Granted..................00ccc0ee 4

B. Motion to Dismiss Plaintiff's Count VIII for an Award
Of Punitive Damages For Failure To State A Claim
Upon Which Relief Can Be Granted.........0.00.0.ccccccecescuceceecuceesuceeeuses 6

CONCLUSION 2.0.0. ccc eee cee ene e ee nurtenness 9
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 3 of 13 PagelD: 86

TABLE OF AUTHORITIES
CASES

Ashcroft v. Iqbal,

556 U.S. 662 (2009)... cceceee cence ener ene EEE EE EERE EE EEE EERE EEE EE EE EEE Eee 3
Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007)... cece cece cece renee ne nen eee nee e enter ent EER EERE eH eH EEE SESE Eee E ES 3
Bistrian v. Levi,

696 F.3d 352 (3d Cir. 2012)... cece cece ence eee ene eee ene eect rene enn es eee ene nes 3
Chee Li v. BMW of N. Am., LLC,

2017 WL 2625965 (N.J. Super. App. Div. June 19, 2017)....... 0. ccc cece ce reeetee nee ees 4
Cort v. Ash,

422 U.S. 66 (1975)... cece ence eee e ence nene eee nen E ESE EERE EGER EEE EEE EEE EERSTE ene EES 5
Crusco v. Oakland Care Ctr. Inc.,

305 N.J. Super. 605 (App. Div. 1997)... 0... cece cece ee tere e teeter eee nt entre et eeas 4
Dong v. Alape,

361 N.J. Super. 106 (App. Div. 2003)......... ccc cece c cece rene nen n enter rere ante enna es 7
Entwistle v. Draves,

102 N.J. 559 (1986)... ccc cece cece eee eee eE een e EEE EEE EEE EEE EEE ESE ETE EES 8
Fowler vy. UPMC Shadyside,

578 F.3d 203 (3d Cir. 2009)... cece eee ee rere cence nee n ene nen e enn EE Ea eee nt Ee ee ees 3
Franek v. Tomahawk Lake Resort,

333 N.J. Super. 206 (App. Div.), certif, denied 166 N.J. 606 (2000).........:eeceeeee nee 5
Hatala v. Morey’s Pier, Inc., et al.

No. CIV. 04-4679 RBK, 2007 WL 2159615 (D.N.J. July 25, 2007)........... cece ees 7,8
Lascurain v. City of Newark,

349 N.J. Super. 251 (App. Div. 2002)... 0c cence ce erent e een ee nee eee nena ne ees 4

Leimgruber v. Claridge Assocs., Ltd.,
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 4 of 13 PagelD: 87

73 N.J. 450 (1977)... ccc cece ecee cece renee eee nee nen EEN EEE EASED Ene EEE EEE EEE EE EE EGE 9
Matter of State Comm’n of Investigation,

108 N.J. 35 (1987)... cece cence eet e rene nee ener erent eee ne eens ee ea ent ee ne enenenteeeneeeenes 4
Nappe v. Aschelewitz, Barr, Ansell & Bonello,

Nn © 2:2) eee 8
Pavlova v. Mint Money Mgmt. Corp.,

375 N.J. Super. 397 (App. Div. 2005). 0.0.0.0... ccc ccc cece eee en eee nena ene ene ence nees 6, 7
Plasencia y. Orgill, Inc.,

2012 WL 819063 (D.N.J. Mar. 9, 2012)... 0. cece ccc nce eee tee eee e ee eee ee en ene enees 6
RJ. Gavdos Insurance Agency, Inc., v. National Consumer Ins. Co.,

168 N.J. 255 (2001)... cece tee eee e renee nena eee ee ene eens Leneeeeeeaeeene teen ene ea 5
Steinberg v. Sahara Sam’s Oasis, LLC,

226 N.J. 344 (2016)... 0. ccc cece cece e cee enn eee nen e EE EERE EEE EEE EE EEE EEE ES 5
Tafaro v. Six Flags Great Adventure,

2018 WL 1535289 (D.N.J. Mar. 29, 2018)........ ccc ce cece cece renee renee eee nee ene ne rene 5

FEDERAL RULES

Federal Rule of Civil Procedure 8(€)............ccceecce nee e ee eee ence eee ene n ee enone nee eed 3
Federal Rule of Civil Procedure 12(b)(6)............ cece eee e cece eter tence nee e teen e nena e ene es 3

STATUTES

N.J.S.A. §§ 2A S—S.90 ec nL CE EEE EEE EEE 6, 8
N.TS.A. § 2AtIS—S.1O. ccc ene EEE EEE EEE EEE er EE Ere g 6
N.D.S.A. § 2At TSS. 2. cee EEE EEE EEE EEE Een EE EEE Ere 6, 7
NJ.S.A. § 5513-36-20. ccc eee cence nnn nee EEE EE EEE EEE EEE E EE EEE EEE DEERE EEE E EEE EEO EEE EE aEE 4
NITS.A. § SiB-3 1 ccc ceee cere ener eden EEE EEE EEE EE EEE EEE EE EERE EEE EEE EERE E EE EEE EEE EEE 4

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Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 5 of 13 PagelD: 88

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

LESTER DAVIS,

Plaintiff,
CIVIL ACTION

Vv.

SIX FLAGS GREAT NO, 321-cv-14650
ADVENTURE, LLC, et. al.

 

Defendant.

 

BRIEF IN SUPPORT OF DEFENDANT, SIX FLAGS GREAT ADVENTURE, LLC’S,
MOTION TO DISMISS THE PLAINTIFF’S AMENDED COMPLAINT, IN PART,
FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
Defendant, Six Flags Great Adventure, LLC (hereinafter “SFGA”), by and through its
undersigned counsel, Heather M. Eichenbaum, Esquire and Spector Gadon Rosen Vinci P.C., hereby
moves this Honorable Court for an Order, pursuant to Rule 12(b)(6) of the Federal Rules of Civil
Procedure, dismissing the plaintiff’s Amended Complaint, in part, for failure to state a claim upon
which relief can be granted, and submits this Brief in support of its Motion seeking said relief.
I. STATEMENT OF PERTINENT FACTS
On or about December 2019, Plaintiff, Lester Davis, commenced the instant action against
Six Flags Entertainment Corporation\! (hereinafter “SFEC”) in the United States District Court for
the Eastern District of Pennsylvania. That action was voluntarily dismissed. On or about August 5,
2021, the plaintiff filed an Amended Complaint in the United States District Court for the District of
New Jersey against SFEC, which has since been voluntarily dismissed, SFGA, and several other

defendants. See true and correct copy of Amended Complaint, attached hereto as Exhibit “A”. Said

Amended Complaint against SFGA sounds generally in alleged negligence. See Exhibit “A”.

 

1/ Plaintiff's Complaint improperly identified Moving Defendant.as “Six Flags Entertainment
Corporation d/b/a Six Flags Great Adventure”.
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 6 of 13 PagelD: 89

Plaintiff's Amended Complaint avers that on August 10, 2019, plaintiff was injured at Greta
Adventure while riding the “Joker” roller coaster. See Exhibit “A”, { 1.

Plaintiff's Amended Complaint contains averments that Defendants violated the New Jersey
Carnival-Amusement Rides Safety Act, N.J.S.A. 5:3-31 et. seq. (hereinafter “CARSA”) and this
failure to comply with CARSA resulted in plaintiff's injuries. See Exhibit “A”, {J 142-143. Further,
that “Defendants knew the Joker was unreasonably dangerous, especially to individuals with
physical disabilities like Mr. Davis who do not have use of their lower extremities” and that this
conduct “shows willful misconduct, malice, fraud, wantonness, oppression, or that entire want of
care which raises the presumption of conscious indifference to consequences, thereby justifying an
award of punitive damages.” See Exhibit “A”, J 147, 151.

For the reasons set forth below, plaintiff's averments of a violation of CARSA and any
demand for an award of punitive damages must be dismissed as they fail to state claims upon which
relief may be granted and fail to meet the minimum pleading requirements set forth by the Federal
Rules of Civil Procedure and applicable case law.

I. QUESTION PRESENTED

Question: Should this Honorable Court dismiss plaintiff's claim against SFGA for
alleged violations of the New Jersey Carnival-Amusement Rides Safety Act (““CARSA”) where
plaintiff lacks standing to assert claims under the referenced statute?

Suggested Answer: Yes.

Question: Should this Honorable Court dismiss all claims for punitive damages within
the plaintiffs Amended Complaint where plaintiff has failed to aver sufficient facts to establish that
SFGA acted with evil motive, actual malice, or wanton and willful disregard?

Suggested Answer: Yes.
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 7 of 13 PagelD: 90

HI. LEGAL STANDARD AND STANDARD OF REVIEW

Pursuant to Federal Rule of Civil Procedure 8(a) plaintiff must plead “a short and plain
statement of the claim showing that the pleader is entitled to relief”. Fed. R. Civ. P. 8(a)(2). When a
claim fails to meet the standards of Rule 8(a), Federal Rule of Civil Procedure 12(b)(6) provides that
the Court may dismiss a complaint, or portions thereof, “for failure to state a claim upon which relief
can be granted.” Fed. R. Civ. P. 12(b)(6). When reviewing a motion to dismiss, courts first separate
the factual and legal elements of the claims, and accept all of the well-pleaded facts as true. See
Fowler v. UPMC Shadyside, 578 F.3d 203, 210-211 (3d Cir. 2009).

To survive a motion to dismiss, the plaintiff must provide “enough facts to state a claim to
relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). This
standard requires the plaintiff to show “more than a sheer possibility that a defendant has acted
unlawfully ....” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

The Third Circuit Court of Appeals requires a three-step analysis to meet the plausibility
standard mandated by Twombly and Ashcroft. First, the Court should “outline the elements a plaintiff
must plead to a state a claim for relief.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012). Next, the
Court should “peel away” legal conclusions that are not entitled to the assumption of truth. /d.; see
also Ashcroft, 556 U.S. at 678-679 (“While legal conclusions can provide the framework of a
Complaint, they must be supported by factual allegations.”). Finally, the Court should assume the
veracity of all well-pled factual allegations, and then “determine whether they plausibly give rise to
an entitlement to relief.” Bistrian, 696 F.3d at 365, quoting Ashcroft, 556 U.S. at 679. It is well-
established that a proper Complaint “requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 8 of 13 PagelD: 91

IV. LEGAL ANALYSIS

A. Motion To Dismiss Plaintiffs Count VII Alleging CARSA
Violations For Failure To State A Claim Upon Which Relief May Be G ranted

Count VII of plaintiff’s Amended Complaint attempts to set forth a claim that SFGA’s alleged
wrongdoing violated the Carnival and Amusement Ride Safety Act, N.J.S.A. §5:3-31 (hereinafter
“CARSA”). However, the plaintiff herein cannot succeed on this cause of action as a matter of law
because individuals cannot rely on N.J.S.A. §5:3-36-2 to support a private cause of action.

Under governing New Jersey law, “a plaintiff has no standing to assert a statutory claim
where standing is not conferred or implied by the statute.” Chee Li v. BMW of N. Am., LLC, 2017
WL 2625965, at *4 (N.J. Super. App. Div. June 19, 2017), citing Crusco v. Oakland Care Ctr. Inc.,
305 N.J. Super. 605, 614-15 (App. Div. 1997); see also Lascurain v. City of Newark, 349 N.J. Super.
251, 274-75 (App. Div. 2002)(finding plaintiff lacked standing to bring suit under N.J.S.A. 8A:1-1 to
12-6 because the statute did not authorize actions by private parties).

In the absence of explicit language in a statute creating a private cause of action, courts must
look to whether there is evidence that the Legislature specifically intended to create a private cause
of action under a statute. In determining whether a statute implicitly creates a private cause of action,
the New Jersey Supreme Court has directed that courts should consider: (1) whether plaintiff is a
member of the “class for whose special benefit the statute was enacted.”; (2) “whether there is any
evidence that the Legislature intended to create a private cause of action under the statute”; and (3)
“whether such an implied private cause of action would be ‘consistent with the underlying purposes
of the legislative scheme.’” Matter of State Comm’n of Investigation, 108 N.J. 35, 41 (1987)(quoting
Cort v. Ash, 422 U.S. 66, 78 (1975)); see also Crusco, 305 N.J. Super. at 614-15.

In applying this framework, courts may give “varying weight” to each of the factors, but

ultimately the result turns upon the Legislature’s intent in enacting a particular statute. R.J. Gavdos
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 9 of 13 PagelD: 92

Insurance Agency, Inc., v. National Consumer Ins. Co., 168 N.J. 255, 272 (2001). In discerning the
Legislature’s intent, courts should look to the statute as a whole and consider all of its related
sections. Franek v. Tomahawk Lake Resort, 333 N.J. Super. 206 (App. Div.), certif: denied 166 N.J.
606 (2000).

In Tafaro v. Six Flags Great Adventure, this Honorable Court dismissed the plaintiff’s claim
that the Defendant failed to comply with CARSA, for exactly the same reasons argued herein. Tafaro
v. Six Flags Great Adventure, 2018 WL 1535289 (D.N.J. Mar. 29, 2018). This Court explicitly held
that plaintiff could not state a claim against SFGA for alleged failure to comply with CARSA, and
summarily dismissed the claim from plaintiff’s Complaint. Jd.

Likewise, in Steinberg v. Saraha Sam's Oasis, LLC, the New Jersey Supreme Court held that
the provisions of CARSA do not give rise to a private right of action for injured amusement park
patrons. Steinberg v. Sahara Sam's Oasis, LLC, 226 N.J. 344, 360 (2016) The Court explicitly
“reject[ed] plaintiff’s implied argument that a violation of the Carnival-Amusement Rides Safety
Act, N.J.S.A. 5:3-31 to -59, standing along, gives rise to a private right of action.” Jd.

Here, just as was held in Steinberg and Tafaro, there is absolutely nothing in the text of the
statute plaintiff attempts to rely on that would even remotely suggest that the New Jersey Legislature
intended to confer a private right of action on a person such as the plaintiff herein. Absent explicit
authority within CARSA to allow a private cause of action under said statute, same cannot proceed.

Even if SFGA were not in compliance with CARSA (accusations that SFGA vehemently
denies), plaintiff's citation of this statute is inappropriate and irrelevant to any claim he could
possibly assert because plaintiff has no standing to raise a cause of action under said statute.
Therefore, because plaintiff has no private right of action conferred under CARSA, Count VII of

plaintiff's Amended Complaint must be dismissed.
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 10 of 13 PagelD: 93

B. Motion to Dismiss Plaintiff's Count VII Alleging A Claim For Punitive
Damages For Failure To State A Claim Upon Which Relief Can Be Granted

Plaintiff purports to state a claim in his Amended Complaint for an award of punitive
damages against SFGA by alleging that it “knew and recklessly disregarded the fact that the Joker
was prone to cause injury to riders without use of their legs...” but chose to allow riders with such
disabilities to ride the Joker. See Exhibit “A” 4149. However, plaintiff fails to (and cannot) aver
sufficient factual allegations to support this baseless claim. Plaintiff fails to aver sufficient factual
allegations to support the claim that SFGA’s conduct exceeded ordinary negligence, or that SFGA
acted with actual malice, evil motive, or wanton and willful disregard. Therefore, this Honorable
Court should strike from the Complaint all requests for punitive damages against SFGA because
plaintiff has failed to state a claim upon which relief can be granted.

An award of punitive damages is limited to “exceptional cases”. See Plasencia v. Orgill,
Inc., 2012 WL 819063 at *4 (D.N.J. Mar. 9, 2012); see also Pavlova v. Mint Money Mgmt. Corp.,
375 N.J. Super. 397, 405 (App. Div. 2005)(emphasis added). Here, plaintiff fails to allege any
factual predicate to support an allegation that the damages were so exceptional or out of the ordinary
as to warrant an award of punitive damages. Pursuant to the New Jersey Punitive Damages Acct,
N.J.S.A. §§ 2A:15—5.9, et seq. (hereinafter “the PDA”), a party seeking punitive damages must
prove, by clear and convincing evidence, “that the harm suffered was the result of the defendant’s
acts or omissions, and such acts or omissions were actuated by actual malice or accompanied by a
wanton and willful disregard of persons who foreseeably might be harmed by those acts or
omissions”. N.J.S.A. § 2A:15-—5.12(a). Actual malice requires “an intentional wrongdoing in the
sense of an evil-minded act”. N.J.S.A. § 2A:15-—5.10. Wanton and willful disregard is “a deliberate
act or omission with knowledge of a high degree of probability of harm to another and reckless

indifference to the consequences of such act or omission”. Id.
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 11 of 13 PagelD: 94

The standard for punitive damages cannot be satisfied by averring negligence or even gross
negligence. N.J.S.A. § 2A:15—5.12(a); see also, Pavlova, 375 N.J. Super. at 405. Instead, a plaintiff
must demonstrate that “the defendant knew or had reason to know of the circumstances which would
bring home to the ordinary reasonable person the highly dangerous character of his or her conduct”.
See Pavlova, 375 N.J. Super. at 405. Courts look for “the circumstances of aggravation or outrage,
which may consist of such a conscious and deliberate disregard of the interests of others”. See Dong
v. Alape, 361 N.J. Super. 106, 116 (App. Div. 2003).

Punitive damages are beyond the reach of plaintiff herein, based on the alleged facts. In
Hatala v. Morey’s Pier, Inc., et al., this Court affirmed the applicability of the standards for punitive
damages set forth in Pavlova to cases involving alleged injury on an amusement ride, and dismissed
the plaintiff's claim for an award of punitive damages where there was no evidence of actual malice
or wanton and willful disregard for the safety of patrons. No. CIV. 04-4679 RBK, 2007 WL
2159615 (D.N.J. July 25, 2007). In Hatala, plaintiff commenced an action against the defendant
amusement park after she fractured her ankle while on an amusement ride. /d. The plaintiff alleged
that punitive damages were appropriate, and that the defendants’ conduct was sufficiently
representative of willfulness, wantonness, and reckless disregard for the high probability of serious
injury, due to the defendants’ “knowledge of prior injuries and similar incidents of patrons’
slamming into the retaining wall and suffering injury [on the subject amusement ride].” Jd. at *1.
This Court rejected the plaintiff's argument, holding that “[t]he fact that during a two-year span, a
handful of other riders also suffered injuries on [the subject ride] is insufficient to constitute clear
and convincing evidence of Defendants’ willful and wanton conduct.” /d. at *4. Even where the
defendants did not make operational changes following the earlier incidents, the Court ruled that the

defendants’ “inaction cannot be said to have been certain, or even likely to cause imminent and
Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 12 of 13 PagelD: 95

serious harm.” Jd. Rather, the Court emphasized that the subject ride had been subject to, and
passed, an annual inspection. /d. At most, therefore, the defendants could potentially be liable for
ordinary negligence, but could not be liable for an award of punitive damages. Jd.

Similar to the plaintiff in Hatala, the plaintiff herein presents unsupported allegations that do
not rise to the level of “willful and wanton conduct” as required by the statute. Plaintiff alleges that
“Defendants made the Joker available to the public at Amusement Parks throughout the United
States without doing adequate testing to ensure that the Joker was reasonably safe and fit for its
intended use... Defendant ignored reports throughout the United States and elsewhere of the Jokers’
failures to perform as intended... Defendants knew the Joker was unreasonably dangerous,
especially to individuals with physical disabilities.” See Exhibit “A”, §{145-147. Here, there are
absolutely no factual allegations to support the plaintiff's claims that SFGA’s conduct exceeded (at
best) ordinary negligence or even gross negligence; to support the element of scienter; to identify
any plausible basis articulated for the conduct described as wanton and willful disregard and reckless
indifference to the consequences of such acts or omissions; or to explain how or why there was
malice on the part of the Defendants or that raises the specter of any “evil-minded” acts by the
Defendants. See Entwistle v. Draves, 102 N.J. 559, 562 (1986); see also Nappe v. Aschelewitz, Barr,
Ansell & Bonello, 97 N.J. 37, 49 (1984). Nor are there any factual allegations within plaintiff's
Amended Complaint that would give rise to a plausible inference that the SFGA acted with actual
malice, evil motive, or wanton and willful disregard, or that it acted with intent to cause injury to the
plaintiff. See N.J.S.A. 2A:15—5.9, et seq.

Under these circumstances, plaintiffs demand for an award of punitive damages is improper
and unsustainable. As in Hatala, there are no facts pled to suggest that SFGA acted in any way that
could possibly amount to a wanton, willful, or reckless disregard for the safety of the plaintiff (or

any other patron). The holding in Hatala, 2007 WL 2159615, makes clear that the standard for an
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Case 3:21-cv-14650-PGS-DEA Document 7-3 Filed 09/17/21 Page 13 of 13 PagelD: 96

award of punitive damages in cases involving alleged injury on an amusement ride cannot be
satisfied by the allegations pled by the plaintiff herein. Even when viewing the allegations in the
light most favorable to the plaintiff, the Complaint fails to adequately allege any facts that would
show that SFGA’s conduct encompassed the evil motive, actual malice, or wanton and willful
disregard required to support a punitive damages claim under the PDA. Punitive damages are
assessed only when a party’s conduct is especially egregious. Leimgruber v. Claridge Assocs., Ltd.,
73 N.J. 450, 454 (1977). As stated, the plaintiff herein has failed to allege sufficient factual predicate
to support a claim for punitive damages.

Therefore, SFGA requests that this Honorable Court strike from the Amended Complaint

Count VIII and all claims for an award of punitive damages as against SFGA.

V. CONCLUSION

Defendant, Six Flags Great Adventure, LLC, respectfully requests that this Honorable Court
dismiss with prejudice any and all claims against it for alleged violation of the New Jersey Carnival
Amusement Rides Safety Act and all claims for an award of punitive damages, for failure to state a

claim upon which relief can be granted.

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DATED: September 16, 2021
